                                                                         Motion GRANTED.

             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF TENNESSEE
                      NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             ) No: 2:11-00002
           v.                                )
                                             ) JUDGE TRAUGER
                                             )
VANESSA MIMS                                 )


           DEFENDANT MIMS’ MOTION TO STRIKE MOTION
           FOR DOWNWARD DEPARTURES AND A VARIANCE

     Defendant Vanessa Mims hereby moves this Honorable

Court to Strike the Motion for Downward Departures And

A Variance filed this day (D.E. 1281).                           In addition,

Mrs. Mims and her counsel hereby move the Court to

strike the portions of the Sentencing Memorandum in

which    Mrs.     Mims      requests      downward        departures      and    a

variance pursuant to 18 U.S.C. Section 3553(a) (D.E.

1283).       In      support    of    this    Motion,       defense     counsel

states     that       she      forgot     that      the     Plea     Agreement

prohibits such arguments.                  Defense counsel apologizes

for this error.




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